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                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

MICHAEL BRAD ORSO,

              Petitioner,

v.                                                       Case No. 3:19-cv-569-RV-MJF

MARK S. INCH,

              Respondent.
                                                 /

                                         ORDER

       This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated June 5, 2020, (Doc. 30), and Second Report and

Recommendation dated September 18, 2020. (Doc. 45). The parties were provided

a copy of each report and recommendation and were afforded an opportunity to file

objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made

a de novo determination of those portions to which an objection was made.1

       Having considered the reports and recommendations and all objections thereto

timely filed, I conclude that the reports and recommendations should be adopted.




       1
        The petitioner filed objections to the first Report and Recommendation but not to the
second one.
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      Accordingly, it is ORDERED:

      1.    The Magistrate Judge’s Report and Recommendation dated June 5,

2020 (Doc. 30) is adopted and incorporated by reference in this Order.

      2.    The Magistrate Judge’s Second Report and Recommended dated

September 18, 2020 (Doc. 45) is adopted and incorporated by reference in this Order.

      3.    Petitioner’s   “Motion    Seeking      Order     Rescinding   Report   and

Recommendation . . .” (Doc. 37) is DENIED.

      4.    Respondent’s Motion to Dismiss Petition as Untimely (Doc. 18) is

GRANTED.

      5.    The petition for writ of habeas corpus (Doc. 1), challenging Petitioner’s

judgment of conviction and sentence in State of Florida v. Michael Brad Orso,

Escambia County Circuit Court Case No. 2013-CF-5551, is DISMISSED WITH

PREJUDICE.

      6.    A certificate of appealability is DENIED.

      7.    The clerk of court shall close this case file.

      DONE AND ORDERED this 23rd day of October, 2020.


                                /s/ Roger Vinson            ________
                                ROGER VINSON
                                SENIOR UNITED STATES DISTRICT JUDGE


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